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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS


In Re Innovatio IP Ventures, LLC, Patent
Litigation
                                                    Case No. 1:11-cv-09308

                                                    Judge James F. Holderman
This Document Relates To:
                                                    Magistrate Judge Sidney Schenkier
All Cases



                      ORDER SEALING CERTAIN TRIAL EXHIBITS

       The Court having received and reviewed the parties’ Supplemental Joint Motion to Seal

Certain Trial Exhibits (hereinafter “Joint Motion”), orders the following:


       The parties request to seal certain exhibits is GRANTED. DTX 2065 shall be maintained

under seal. Counsel is required to retain all exhibits.




       October 4, 2013                                ____________________________________

                                                      James F. Holderman

                                                      United States District Judge
